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                                                             FILED IN THE
CLARE E. CONNORS # 793 6
                                                      UNITEDSTATES DISTRICT COURT
United States Attorney                                   DISTRICT OF HAWAII
District of Hawaii
                                                               JUN 16 2022
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Attorneys for Plaintiff
UNITED STATES OF AMERICA

                 IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAll

 UNITED STATES OF AMERICA,              )
                                        )
                                            cR. No.     cw·2 2 . ooo4 9              JAo
             Plaintiff,                 )   INDICTMENT
                                        )
       V.                               )   [18 U.S.C. §§ 371, 922(a)(6), 924(a)(2),
                                        )   924(a)(l)(A), and 2]
MATTHEW BELANGER,                       )
                                        )
            Defendant.                  )
                                        )
_ _ _ _ _ _ __ _                        )

                                 INDICTMENT

The Grand Jury charges:
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                                     Count 1
                       Conspiracy to Make False Statement
                          to Federal Firearm Licensee
                               (18 u.s.c. § 371)

      1.    From in or about April 2020 to in or about May 2020, within the

District of Hawaii and elsewhere, MATTHEW BELANGER, the defendant,

knowingly and willfully combined, conspired, and agreed with Associate 1 to

commit the following offenses against the United States:

            a.     In connection with the acquisition of a firearm from a licensed

      dealer of firearms within the meaning of Chapter 44, Title 18, United States

      Code, to knowingly make a false and fictitious written statement to the

      dealer, which statement was intended and likely to deceive the dealer as to a

      fact material to the lawfulness of such sale of the firearm under Chapter 44

      of Title 18, in violation of Title 18, United States Code, Sections 922(a)(6)

      and 924(a)(2); and

            b.     To knowingly make a false statement and representation to a

      person licensed under the provisions of Chapter 44 of Title 18, United States

      Code, with respect to information required by the provisions of Chapter 44

      of Title 18, United States Code, to be kept in the records of the licensee, in

      violation of Title 18, United States Code, Section 924(a)(l)(A).




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          2.    In furtherance of the conspiracy and to effect the objects thereof,

    BELANGER and Associate 1 committed the following overt acts in the District of

    Hawaii and elsewhere, among others:

                a.       On April 21, 2020, BELANGER sent Associate 1 a text

                message instructing Associate 1 to buy the firearm;

                b        On April 21, 2020, BELANGER sent Associate 1

                approximately $97 5 via Cash App to use for the purchase of the

                firearm;

                c.       On May 20, 2020, Associate 1 completed and signed an ATF-

                4473 at Fred's Gun Shop, Port Jefferson, New York, a federal firearm

                licensee, falsely answering "Yes" to response to Question 11.a, which

                inquires, "Are you the actual transferee/buyer of the firearm(s) listed

                on this form?"; and

                d.       On May 20, 2020, Associate 1 purchased the firearm, namely a

               Luger 9 mm pistol, serial number 71777, from the licensee on behalf

                of BELANGER.

         All in violation of Title 18,. United States Code, Section 371.

                                           Count2
                     False Material Statement During Purchase of Firearm
                            (18 U.S.C. §§ 922(a)(6) and 924(a)(2))

          3.    On or about May 20, 2020, within the District of Hawaii and


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 elsewhere, MATTHEW BELANGER, the defendant, in connection with the

 acquisition of a firearm, namely a Luger 9 mm pistol, serial number 71777, from

Fred's Gun Shop, Port Jefferson, New York, a licensed dealer of firearms within

the meaning of Chapter 44, Title 18, United States Code, knowingly made a false

and fictitious written statement to Fred's Gun Shop, which statement was intended

· and likely to deceive Fred's Gun Shop as to a fact material to the lawfulness of

such sale of the said firearm under Chapter 44 of Title 18, namely a false answer in

the affirmative to Question 11.a on an ATF-44 73.

       All in violation of Title 18, United States Code, Sections 922(a)( 6),

924(a)(2), and 2.

                                     Count 3
       False Statement of Required Information to Federal Firearm Licensee
                           (18 U.S.C. § 924(a)(l)(A))

       4.     On or about May 20, 2020, within the District of Hawaii and

elsewhere, MATTHEW BELANGER, the defendant, knowingly made a false

statement and representation to Fred's Gun Shop, Port Jefferson, New York, a

person licensed under the provisions of Chapter 44 of Title 18, United States Code,

with respect to information required by the provisions of Chapter 44 of Title 18,

United States Code, to be kept in the records of Fred's Gun Shop, namely a false

answer in the affirmative to Question 11.a on an A TF-44 73.

       All in violation of Title 18, United States Code, Sections 924(a)(l)(A) and 2.


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                                   Forfeiture Notice

       1.    The allegations set forth in all paragraphs of this Indictment are

hereby realleged and incorporated by reference for the purpose of noticing

forfeiture pursuant to pursuant to Title 18, United States Code, Section 924(d)(l ),

and Title 28, United States Code, Section 2461 (c).

      2.     The United States hereby gives notice that, upon conviction of the

offenses in violation of Title 18, United States Code, Sections 922(a)(6) and

924(a)(2) charged in Count 2 of this Indictment or the offense in violation of Title

18, United States Code, Section 924(a)(l)(A) charged in Count 3 of this

Indictment, MATTHEW BELANGER, the defendant, shall forfeit to the United

States any firearms and ammunition involved in or used in the commission of that

offense, including but not limited to a Luger 9 mm pistol, serial number 71777.

      3.     Ifby any act or omission of the defendant, any of the property subject

to forfeiture described in paragraph 2 herein:

      a.     cannot be located upon the exercise of due diligence;

      b.     has been transferred or sold to, or deposited with, a third party,

      c.     has been placed beyond the jurisdiction of the court;

      d.     has been substantially diminished in value; or

      e.     has been commingled with other property which cannot be subdivided

             without difficulty,


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      the United States of America will be entitled to forfeiture of substitute property up

      to the value of the property described above in paragraph 2, pursuant to Title 21,

      United States Code, Section 853(p), as incorporated by Title 28, United States

      Code, Section 2461 (c).

            DATED: June 16, 2022, at Honolulu, Hawaii.

                                                    A TRUE BILL

                                                    Isl Foreperson

                                                    FOREPERSON,GRANDJURY




n     CLARE E. CONNORS
--to' United States Attorney
      District of Hawaii




      Assistant   .S. Attorney




      United States v. Matthew Belanger
      Indictment
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